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Fill in this information to identify the case:

United States Bankruptcy Court for the:

Northern District of Oklahoma

Case number (/f/<nown>:

 

chapter 15 E| check rrthrs rs an

 

Officia| Form 401

amended filing

Chapter 15 Petition for Recognition of a Foreign Proceeding 12115

 

lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).

1. Debtor’s name

lnnova Globa| Ltd.

 

2. Debtor’s unique identifier

For non-individual debtors:

` For individ\r;l:debtors:

|;l Federal Employer |dentifrcation Number(E|N) ___ _ - _ _ _ _ _ ______

 

M Other 2019358023 _ Descrrbe rdentmer Corporate Access Number

n Socia| Security number: Xxx - xx-
l;l individual Taxpayer identification number (|TlN): 9xx - xx -

[;l Other . Describe identifier

 

 

3. Name of foreign
representative(s)

PricewaterhouseCoopers |nc., L|T, soley as court-appointed Receiver

 

4. Foreign proceeding in which
appointment of the foreign
representative(s) occurred

Court of Queen’s Bench of A|berta in the Judicia| Centre of Calgary, Canada

 

5. Nature of the foreign
proceeding

Check one.'

Foreign main proceeding
Foreign nonmain proceeding
Foreign main proceeding, or in the alternative foreign nonmain proceeding

 

s. Evidence of the foreign
proceeding

U[JS|§~UU

A certified copy, translated into English, of the decision commencing the foreign proceeding and
appointing the foreign representative is attached.

A certificate, translated into English, from the foreign court, affirming the`existence of the foreign
proceeding and of the appointment of the foreign representative is attached

Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
representative is described below, and relevant documentation, translated into Eng|ish, is attached

 

 

 

7. ls this the only foreign
proceeding with respect to
the debtor known to the
foreign representative(s)?

El

No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
debtor is pending.)

Yes

 

Ofncial Form 401

Chapter 15 Petition for Recognition of a Foreign Proceeding page 1

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Debtor |nnOVa G|Oba| Ltd- Case number (irknown)

Name

 

8. Others entitled to notice Attach a list containing the names and addresses of:

(i) all persons or bodies authorized to administer foreign proceedings of the debtor,

(ii) all parties to litigation pending in the United States in which the debtor is a party at the time of Hling of this

petition, and

(iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.

 

9. Addresses Country where the debtor has the center of its
main interests:

Canada

individual debtor’s habitual residence:

Debtor’s registered office:

4300 BANKERS HALL WEST

 

 

 

 

Number Street

888 - 3RD STREET S.W.

P.O. Box

CALGARY AB T2P 5C5

City State/Province/Region Z|P/Postal Code
Canada

Country

Address of foreign representative(s):

PricewaterhouseCoopers lnc., L|T

 

 

 

 

 

 

 

 

 

 

 

Number Street Number Street
111-5th Avenue SW, Suite 3100
P.O. Box P.O. Box
Calgary AB T2P 5L3
City State/Province/Region Z|P/Posta| Code City State/Province/Region ZlP/Postal Code
Canada
Country Country
1°' D°bt°r’$ Website (URL) WWW.ch.com/car/innova
11. Type of debtor Check one.'

m Non-individual (check one):

w Corporation. Attach a corporate ownership statement containing the information

described in Fed. R. Bankr. P. 7007.1.
n Partnership
El other specrry;

 

m lndividual

Ofticial Form 401 Chapter 15 Petition for Recognition of a Foreign Proceeding page 2

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oebror lnnova Global Ltd.

 

Name

Case number (irknawn)

 

12. Why is venue proper in this
district?

Check one.'

m
El

Debtor’s principal place of business or principal assets in the United States are in this districtl

Debtor does not have a place of business or assets in the United States, but the following
action or proceeding in a federal or state court is pending against the debtor in this district:

 

lf neither box is checked venue is consistent With the interests of justice and the convenience
of the parties, having regard to the relief sought by the foreign representative, because:

Debtors' US operations are based in Tulsa, Oklahoma

 

 

13. Signature of foreign
representative(s)

| request relief in accordance With chapter 15 of title 11, United States Code.

l am the foreign representative of a debtor in a foreign proceedingl the debtor is eligible for the
relief sought in this petition, and | am authorized to file this petition.

l have examined the information in this petition and have a reasonable belief that the
information is true and correct

l declare under penalty of perjury that the foregoing is true and correct,

x /s/ Paul J. Darby

Executed on

Paul J. Darby, Senior V.P. of Receiver

 

Signature of foreign representative

04/03/2019
rvrM /Do/ YYYY

X

Printed name

 

Signature of foreign representative

Executed on

lVllVl /DD/ YYYY

Printed name

 

14. Signature of attorney

X /s/ John E. Howrand

 

Signature of Attorney for foreign representative

John E. How|and

Printed name

Rosenstein, Fist & Ringold

pate 04/03/2019
lVllVl / DD / YYYY

 

 

Firm name

525 S. l\/lain, Suite 700

Number Street

Tulsa OK 74103

city state er code
(918) 585-9211 johnh@rfrlaw.com

 

 

 

Contact phone Email address
oBA No. 4416 OK
Bar number State

 

Ofticial Form 401

Chapter 15 Petition for Recognition of a Foreign Proceeding

page 3

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SCHEDULE A TO CHAPTER 15 PETITION

Item 4: Foreign proceeding in Which appointment of the foreign representative(s)
occurred: ATB Financial v. lnnova Global Ltd. et. al. Alberta Court of Oueen’s Bench File No.
1901-04589. Receivership Order entered April 1, 2019, by the Honorable Justice B.E.C.
Romaine.

 

 

Item 8: Others entitled to notice:

Attach a list containing the names and addresses of: (i) all persons or bodies authorized to
administer foreign proceedings of the debtor, (ii) all parties to litigation pending in the United
States in Which the debtor is a party at the time of filing of this petition, and (iii) all entities
against Whom provisional relief is being sought under § 1519 of the Bankruptcy Code. l

See attached Schedule Al.

Item 11: Type of Debtor: Corporate Ownership Statement containing the information
described in Fed. R. Bankr. P. 7007.1

93559159.1 _ 1 ..

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Schedule Al Innova

Section 8 - Others Entitled to Notice

l. List containing the names and addresses of all persons or bodies authorized to administer
foreign proceedings of the debtor

 

 

PricewaterhouseCoopers Inc., LIT.

lll-5th Avenue SW, Suite 3100

Calgary AB T2P 5L3, Canada

Attn: Paul J. Darby, Senior V.P. of Receiver
Email: paul.j .darby@ca.pwc.com

 

 

2. List containing the names and addresses of all parties to litigation pending in the United States
in Which the debtor is a party at the time of filing of this petition:

3. List containing the names and addresses of all entities against Whom provisional relief is being
sought under §1519 of the Bankruptcy Code. Attached below.

93572491.1

 

 

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
1938247 ALBERTA LTD.
ATTN: sHERYL PHILLIPS vICE PRESIDENT ,HR
4000 - 4TH sTREET sE
suITE 222
cALGARY, AB TZG 2W3 cANADA

22 SLATE APTS
5711 SLATE DRIVE
MADISON, WI 53718

A & B ENGRAVING, INC.
ATTN: CHARLES BOGIE

4150 S 70TH EAST AVE
TULSA, OK 74145-4605

A&M COMPRESSED AIR PRODUCTS, INC
40 INDUSTRIAL DR
UXBRIDGE, MA 01569-2279

ABSOLUTE STAINLESS INC.
530 APPLEWOOD CRESCENT, BLDG 1
CONCORD, ON L4K 4B4 CANADA

ABz, INC.

ATTN: DAvE ToNDI

4451 BRooKFIELD coRPoRATE DRIVE
suITE 107

cHANTILLY, vA 20151

ACCOUNTING PRINCIPALS, INC.
ATTN: SHERRY SUTTON

DEPT CH 14031

PALATINE, IL 60055-4031

ACCURATE FIRE EQUIPMENT CO, INC
10528 E 12TH ST
TULSA, OK 74128-4000

ADAM INTEGRATED INDUSTRIES INC
5301 40 AVENUE SE
SALMON ARM, BC VlE le CANADA

ADMIRAL EXPRESS, INC.
ATTN: PHIL SALINGUE
PO BOX 470650

TULSA, OK 74147-0650

ADVANCE ALARMS INC '
PO BOX 2257
BROKEN ARROW, OK 74013

AEROTEK INC
PO BOX 198531
ATLANTA, GA 30384

AIR GAS USA LLC_CHICAGO
ATTN: DONNA ALBERTSON

P O BOX 802576

CHICAGO, IL 60680-2576

AIR PRODUCTS AND CHEMICALS, INC
ATTN: NACCLLEC
Page 1

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
MAIL CODE: 5701
PO BOX 71200

CHARLOTTE, NC 28272-1200

AIRGAS USA LLC
PO BOX 676015
DALLAS, TX 75267

AIRGROUP
PO BOX 3627
BELLEVUE, WA 98009

ALBANY STEEL INC.
ATTN: DEANNA MANTICA
PO BOX 4006

ALBANY, NY 12204

ALERE TOXICOLOGY PRODUCT DISTRIBUTION CENTER
BOX 536506 »
PITTSBURGH, PA 15253

ALLARA ENERGY
LEVEL 21, 179 TURBOT STREET
BRISBANE, QUEENSLAND 4000 AUSTRALIA

ALLIED ELECTRONICS INC
ATTN: JENNIFER DIAZ
7151 JACK NEWELL BLVD S
P.O. BOX 2325

FORT WORTH, TX 76113

ALPINE SNOWGUARDS
289 HARELL ST
MORRISVILLE, VT 05661

AMERICAN BOILERS S.A. DE C.V.
CALLE NUEVA 1811
GUADALUPE, NUEVO LEON 67118 MEXICO

AMERICAN EQUIPMENT INC
451 WEST 3440 SOUTH
SALT LAKE CITY, UT 84115

AMERICAN WARMING AND VENTILATING
PO BOX 847062
BOSTON, MA 02284-7062

AMERIGAS PROPANE LP
PO BOX 371473
PITTSBURGH, PA 15250

AMERIGAS-5185
PO BOX 7155
PASADENA, CA 91109

AMT WELDING
PO BOX 579
ENTERPRISE, UT 84725

AON REED STENHOUSE INC
2700 - 125 9 AVE SE
CALGARY, AB TZG 0P9 CANADA

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
APCO MACHINE
ATTN: ARTHUR PROULX
PO BOX 1154
STURBRIDGE, MA 01566-3154

AQUARIUS ENTERPRISES DBA/CULLIGAN OF TULSA
ATTN: SAM BROWN

CULLIGAN OF TULSA

1800 W SKELLY DRIVE

TULSA, OK 74107

ARRoWHEAD wAsTE sERvIcEs
P.o. Box 777
sT. chRGE, uT 84771

ASBESTOS ABATEMENT INSULATION SERVICES (AAIS) A DIVISION OF SPECTRUM ENVIRONMENTAL
LLC

102 TECHNOLOGY LANE

EXPORT, PA 15632

AT&T MOBILITY

NATIONAL BUSINESS SERVICES
PO BOX 9004

CAROL STREAM, IL 60197-9004

ATB FINANCIAL

C/O MCCARTHY TETRAULT LLP
ATTN:WALKER MACLEOD

421 ? 7TH AVENUE SW

SUITE 4000

CALGARY, AB T2P 4K9 CANADA

ATB FINANCIAL

C/O PGTTER ANDERSON CORROON LLP
ATTN: JEREMY RYAN AND STEPHEN MCNEIL
1313 MARKET STREET

6TH FLOOR

WILMINGTON, DE 19801

ATB FINANCIAL MASTERCARD
PO BOX 21063
CALGARY, AB T2P 4H5 CANADA

ATRIUM PROPERTIES
10 MAXWELL DRIVE, SUITE 102
CLIFTON PARK, NY 12065

ATS SPECIALIZED INC

ATTN: ROMELLE ANTINSON

725 OPPORTUNITY DR

PO BOX 1377

SAINT CLOUD, MN 56301-5886

ATTE DE MONTERREY SA DE CV
CARRETERA NACIONAL KM 266 LOC 27 COL PALMARES RESIDENCIAL
MONTEREY, NUEVO LEON 64897 MEXICO

AUMA ACTUATORS INC
100 SOUTHPOINTE BOULEVARD
CANONSBURG, PA 15317

AVALON BAY COMMUNITIES INC
PO BOX 11920
Page 3

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
NEWARK, NJ 07101

AVENGER LOGISTICS, LLC
ATTN: RON HUSTON

PO BOX 16638
CHATTANOOGA, TN 37416

AZ INDUSTRIES

ATTN: MICHAEL ZENKL

LIBRAMIENTO ELISEO MENDOZA KM 2.5
MONCLOVA, COAH, COAH MEXICO

B & V GRINDING INC.
6 BURTON ST
WORCESTER, MA 01607

BABCOCK POWER ENVIRONMENTAL INC.
C/O THE CORPRATION COMPANY

1833 S. MORGAN RD.

OKLAHOMA CITY, OK 73128

BAHNSON MECHANICAL SYSTEMS
4731 COMMERCIAL PARK COURT
CLEMMONS, NC 27012

BAKER FIRE PROTECTION, INC.
79 CANTERBURY ST
WORCESTER, MA 01603-2808

BERG-JOHNSON ASSOCIATES INC
1000 WESTGATE DR SUITE 151
SAINT PAUL, MN 55114

BERTOLDO INC

ATTN: NICK MARTONE
17 GILL STREET
WOBURN, MA 01801

BFI ENVIRONMENT PRODUCTS LTD

ATTN: CHEN LING

NO. 10, YIHENG, YONGXING EAST RD

LONGGUI VILLAGE TAIHE TOWN, BAIYUN DISTRICT, GUANGZHOU 510445 China

BOBBY J LONG

ATTN: BOBBY J LONG
214 E 3RD PENN WEST
,HOLDENVILLE, OK 74848

BOEHL STOPHER GRAVES LLP
ATTN: CHARLES H. STOPHER
400 W MARKET STREET
SUITE 2300

LOUISVILLE, KY 40202

BORDER STATES INDUSTRIES INC
PO BOX 2767
FARGO, ND 58108

BOSTON DOC. SYSTEMS, INC `
ATTN: BDS ACCOUNTS RECEIVABLE

P.O. BOX 52270

BOSTON, MA 52270

Page 4

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
BRACE INTEGRATED SERVICES, INC.
ATTN: JCSE GUEVARA
14950 HEATHROW FOREST PKWY
SUITE 290
HOUSTON, TX 77032

BRADEN MANUFACTURING, L.L.C.
ATTN: JEFF TROST , PRESIDENT
5199 N MINGO ROAD TULSA
TULSA, OK 74117

BRADEN MANUFACTURING, L.L.C.

C/O CORPORATE CREATIONS, NETWORK, INC.
406 S. BOULDER

#400

TULSA, OK 74103

BRADEN PROPERTIES JV

ATTN: CHASITY BARNARD .

OPTIMA COMMERCIAL REAL ESTATE SERVICES

111 5 ELGIN AVENUE `
TULSA, OK 74120

BRADFORD MACHINE-CAVE MANUFACTURING INC
ATTN: JIM HAYSSEN 4

22 BROWNE COURT

BRATTLEBORO, VT 05301

BRAND EXPORT PACKING OF OKLAHOMA INC
ATTN: KEVIN SHOEMAKER

2751 E APACHE ST

TULSA, OK 74110

BRAND-GAUS LLC
2907 APPENNINI COVE
CEDAR PARK, TX 78613

BRENNAN INDUSTRIAL CONTRACTORS INC
ATTN: TODD SCARPONE

337 BRERGEN AVE

KEARNY, NJ 07032

BRENTWOOD INDUSTRIES, INC
ATTN: ACCOUNTS RECEIVABLE
500 SPRING RIDGE DRIVE
READING, PA 19640

BROCK WHITE CANADA ULC
7678 132 STREET
SURREY, BC V3W 4M9 CANADA

BROKEN ARROW ELECTRIC SUPPLY
ATTN: STEVE VELASQUEZ

2350 W VANCOUVER ST

BROKEN ARROW, OK 74012-1172

BTO TRADING LTD

ATTN: LUCY CHEN

SUITE 1701 - OZA 17/F

625 King;s Road

NORTH POINT, HONG KONG

BUNDY TRUCKING INC
Page 5

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
PO BOX 1177
ST. GEORGE, UT 84771

BUYWYZ LLC UTAH
1150 E RIVERSIDE DR #910542
ST GEORGE, UT 84791

C. E. THURSTON & SONS, INC.
ATTN: PJ DONAHUE

PO BOX 10286

NORFOLK, VA 23502

CADCO INC
77 ERIE VILLAGE SQUARE UNIT 184
ERIE, CO 80516

CAMBRIDGE PRO FAB INC.

ATTN: CHERYL STRANG

84 SHAVER STREET

BRANTFORD, ON N3S 0H4 Canada

CAPITAL LIGHTING & SUPPLY LLC DBA CAPITAL ELECTRIC
PO BOX 404749
ATLANTA, GA 30384

CARBOLINE
PO BOX 931942
CLEVELAND, OH 44193-0004

CARBOLINE COMPANY
PO BOX 931942
CLEVELAND, OH 44193

CAROLINA READY MIX & BUILDERS SUPPLY LLC
606 OLD US 70 \
SWANNANOA, NC 28778

CCI FLUID KINETICS CORPORATION
1108 INDUSTRIAL ROAD
WINFIELD, KS 67156

CENTRAL OCEANS USA LLC
698 BERKMAR CIRCLE
CHARLOTTESVLE, VA 22901

CHARLES P. LAUMAN CO., INC
ATTN: JANICE VALLEE

9 WALKUP DRIVE
WESTBOROUGH, MA 01581

CHARTER COMMUNICATIONS
ATTN: BOB JETTE

PO BOX 60187

LOS ANGELES, CA 90060-0187

CIGNA
2700 POST OAK BLVD SUITE 700
HOUSTON, TX 77056

CINCINNATI INC
PO BOX 44719
MADISON, WI 53744-4719

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
CINDER CO
PO BOX 619
PLEASANT GROVE, UT 84062

CINTAS

ATTN: ACCOUNTS RECEIVABLE
PO BOX 630803

CINCINNATI, OH 45263-0803

CINTAS CORPORATION NO.2
ATTN: ACCOUNTS RECEIVABLE
PO BOX 88005

CHICAGO, IL 60680-1005

CITY ELECTRIC SUPPLY COMPANY
AND STELCO ELECTRIC, LLC
GREENSBORO, NC 27415

CITY OF ST GEORGE
175 EAST 200 NORTH
ST GEORGE, UT 84770

CITY WIDE OF BOSTON
ATTN: SHEILA GAFFEY
11 MAIN STREET
SUITE 12

SOUTHBOROUGH, MA 01772

CLARK RELIANCE
PO BOX 536097
PITTSBURGH, PA 15253

CLEAN SWEEP JANITORIAL, INC
ATTN: JOE HART

P. 0. BOX 702705

TULSA, OK 74170

CMC TIRE INC STG
818 W RIVERSIDE AVE SUITE 520
SPOKANE, WA 99201

COMCAST
PO BOX 1577
NEWARK, NJ 07101

COMMODITY PRODUCTS CO INC
206 CHANTILLY DRIVE
WEST MONROE, LA 71291

CONN KAVANAUGH ROSENTHAL PEISCH & FORD LLP
ONE FEDERAL STREET 15TH FLOOR
BOSTON, MA 02110

CONSOLIDATED ELECTRICAL DISTRIBUTORS INC
PO BOX 207082
DALLAS, TX 75320

CONSORCIO INDUSTRIAL TECNOLOGIAS S.A. DE C.V.
CARRETERA MONTERREY-MONCLOVA KM. 11.5
EL CARMEN, NUEVO LEON 66550 MEXICO

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COPY WORLD BUSINESS SOLUTIONS
PO BOX 33210

ACCT# DC1174

TULSA, OK 74153

coRMETEcH, INC
11707 sTEELE CREEK ROAD
cHARLoTTE, Nc 28273

CORPORATE CREATIONS

11380 PROSPERITY FARMS ROAD
#221-E

PALM BEACH GARDENS, FL 33410

COR-RAY PAINTING CO
10114 SHOEMAKER AVENUE
SANTA FE SPRINGS, CA 90670

CORT BUSINESS SERVICES
PO BOX 17401 '
BALTIMORE, MD 21297~1401

COUNTY HEAT TREAT

PO BOX 330

32 HOWE AVENUE
MILLBURY, MA 01527-0330

COX COMMUNICATIONS, INC
PO BOX 248876
OKLAHOMA CITY, OK 73124-8876

CRAWFORD CONSULTING SERVICES
511 WATER STREET

APT. 201

DAYTON, OH 45402

cREATIvE DESIGN coNcEPTs, LLC
ATTN: LARRY KENNY

104 HuBBARo HILL RD

RINDGE, NH 03461-5841

CROWELL & MORING LLP
ATTN: ARTHUR S. BEEMAN
3 EMBARCADERO CENTER
26TH FLOOR

SAN FRANCISCO, CA 94111

CRS CRANESYSTEMS INC
333 STRATHMOOR WAY
SHERWOOD PARK, AB T8H 1Z7 CANADA

CT CORPORATION

PO BOX 4349

CAROL STREAM, IL 60197-4349
CURTIS STEEL CO INC

4565 WYNN RD

LAS VEGAS, NV 89103

DARWIN WHISENHUNT

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
DATA STORAGE INC
ATTN: DATA STORAGE INC
7201 E 38TH ST
SUITE 7261
TULSA, OK 74145

DAV-TECH PLATING, INC.
ATTN: SUE BITZAS

PO BOX 836
MARLBOROUGH, MA 01752

DDJ INSPECTION SERVICES LLC
860 EAST FLORIDA SADDLE DDRIVE
GREEN VALLEY, AZ 85614

DE LAGE LANDEN FINANCIAL SERVICES
PO BOX 41602
PHILADELPHIA, PA 19101-1602

DEE TECH SERVICES LIMITED
CLWYD CLOSE, HAWARDEN INDUSTRIAL PARK
HAWARDEN, FLINTSHIRE CH5 3PZ UNITED KINGDOM

DENNIS SAWVEL
15001 E 110TH PL N
OWASSO, OK 74055

DESHAZO LLC
PO BOX 11407
BIRMINGHAM, AL 35246

DIAMOND MANUFACTURING CO.
ATTN: JUDY BLAINE

243 W 8TH ST

PO BOX 4174

WYOMING, PA 18644-1699

DIAMOND TECHNICAL SERVICE/DIV BENCHMARK INDUST.
11 DEPOT STREET
SOUTH GRAFTON, MA 01560

DIGGINS INC.
1278 GLENNEYRE #102
LAGUNA BEACH, CA 92651

DIRENZO TOWING & RECOVERY
ATTN: TARA SZKUTAK

PO BOX 52

MILLBURY, MA 01527

DIVERSIFIED INDUSTRIAL PRODUCTS
ATTN: CAMMY GROSSO

14 CONNOR LANE

DEER PARK, NY 11729

DJB GAS SERVICES INC
PO BOX 1811
SALT LAKE CITY, UT 84110

DLHI CO. LTD.
152-21, OEGUKGIEOP-RO, SANAM-MYEON
SACHEON-SI, GYEONGSANGNAM-DO 52530 KOREA, REPUBLIC OF

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
DOMINION ENERGY .
PO BOX 45841

SALT LAKE CITY, UT 84139

DONALD GABRIEL
458 BALD HILL ROAD
NEW GLOCESTER, ME 04260

DRESSER LLC
12970 NORMANDY BLVD
JACKSONVILLE, FL 32221

DUFFELL, WILLIAM E
136 415T AVE NW
CALGARY, AB T2K 0G6 CANADA

DUNCAN BOLT COMPANY
PO BOX 845542
LOS ANGELES, CA 90084

'DUNCAN CO
425 HOOVER STREET NE
MINNEAPOLIS, MN 55413

DUO-FAST NORTHEAST
PO BOX 280127
EAST HARTFORD, CT 06128-0127

DYNAMIC FASTENER
9911 E 53 STREET
KANSAS CITY, MO 64133

ECO SERVICES OPERATIONS LLC
PO BOX 5370
HOUSTON, TX 77262

ELECTRO DESIGN ENGINEERING, INC.
ATTN: PHYLLIS CHAPMAN

8133 EAGLE PALM DRIVE
RIVERVIEW, FL 33578

EMW FILTERTECHNIK GMBH
WERNER~VON-SIEMENS STREET 7-9/13
DIEZ, 65582 GERMANY

ENERGY HARDWARE HOLDINGS, LLC
ATTN: V. LOPEZ

C/O PNC BANK

PO BOX 534560

ATLANTA, GA 30353-4560

EQUIPMENT CORPS INC
1256 ARVIN AVE
STONEY CREEK, ON L8E 0H7 CANADA

ERA WIRE, INC.

ATTN: KATHERINE RAE
19-25 LOCUST STREET
WEST HAVEN, CT 06516

ERW, INC.
ATTN: PAULA FOSTER
Page 10

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
PO BOX 431
PUTNAM, CT 06260

EURE CAPITAL LLC
5504 VILLAGE CREEK PARKWAY NORTH
BROOKLYN PARK, MN 55443

EVERSOURCE ENERGY (NSTAR GAS)
PO BOX 660753
DALLAS, TX 75266-0369

ExT, INC.

ATTN: BEv (BEv @ ExT)

1324 KEARNEY RD

ExcELsIoR sPRINGs, Mo 64024-1759

FABENCO
2002 KARBACH ST
HOUSTON, TX 77092-8406

FABENCO INC
2002 KARBACH STREET
HOUSTON, TX 77092~8481

FASTENAL COMPANY
PO BOX 1286
WINONA, MN 55987-1286

FASTENAL MEXICOS DE RL DE CV
LIBRAMIENTO NORESTE KM 33.5 PARQUE INDUSTRIAL GP. COLONIA NUEVA CASTILLA
ESCOBEDO, NUEVO LEON 66052 MEXICO

FEDERAL EXPRESS CANADA LTD.
PO BOX 371461
PITTSBURGH, PA 15250~7461

FEDEX
PO BOX 371461
PITTSBURGH, PA 15250-7461

FEDEX FREIGHT
PO BOX 223125

PITTSBURGH, PA 15251-2125

FERGUSON ENTERPRISES INC.
PO BOX 802817
CHICAGO, IL 60680-2817

FIBRE CAST INC
3264 MAINWAY
BURLINGTON, ON L7M 1A7 CANADA

FIRE BRICK ENGINEERS COMPANY
PO BOX 341278
MILWAUKEE, WI 53234

FIRWIN CORP.
1685 FLINT ROAD
NORTH YORK, ON M3J 2W8 CANADA

FLEX FLEET RENTAL LLC
Page 11

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
1885 W 21001 S SUITE 250
SALT LAKE CITY, UT 84119

FMCT CONSULTING LLC
1862 PRINCETON DRIVE
LOUISVILLE, KY 40205

FORTACERO SA DE CV
BLVD. CARLOS SALINAS DE GORTARI
APODACA, NUEVO LEON 66600 MEXICO

FREEDOM RUBBER LLC
ATTN: VINCENT BLOND
3081 WEST ALBANY
UNIT 103

BROKEN ARROW, OK 74012

FREEDOM RUBBER, LLC.
3081 WEST ALBANY, SUITE #103
BROKEN ARROW, OK 74012

FREHNER BEARING SUPPLY INC
389 N INDUSTRIAL RD #10
ST GEORGE, UT 84770

FUCICH LLC

ATTN: BARBARA CROWE

PO BOX 4015

BAY ST LOUIS, MS 39521-4015

GAUMER COMPANY INC
13616 HEMPSTEAD
HOUSTON, TX 77040

GEOINSIGHT, INC.
ATTN: JANET BROOKS
186 GRANITE ST BSMT 3
3RD FLOOR, SUITE A

MANCHESTER, NH 03101-2643

GEROME TECHNOLOGIES INC
ATTN: MICHELLE PETERS
85 BROADWAY

MENANDS, NY 12204

GIBSON, ASHLEY
44 BRANT RD N
CAMBRIDGE, ON NlS 2W2 CANADA

GLOBAL CONSULTING AND MECHANICAL SERVICES LLC
256 FM 250 S
HUGHES SPRINGS, TX 75656

GOLDEN EMPIRE MFG INC
1025 N WATERY LN
BRIGHAM CITY, UT 84302

GOOD AS GOLD COFFEE SYSTEMS, INC
ATTN: PAT GOLDMAN
115 GREEN ST
WORCESTER, MA 01604-4123
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Attachment - Innova 4.3.2019 Creditor Matrix.txt

GP EAST, LLC

ATTN: JULIE MURDOCH
129 N 10TH ST
CAPITOL HALL
LINCOLN, NE 68508

GRAINGER

PO BOX 419267

DEPT 811177120

KANSAS CITY, MO 64141-6267

GRAYBAR ELECTRIC

ATTN: STEPHANIE MANCUSO
PO BOX 414426

BOSTON, MA 02241-4426

GREAT AMERICA FINANCIAL SERVICES CORPORATION
PO BOX 660831
DALLAS, TX 75266

GREAT LAKES INDUSTRIAL CONTROLS
880 UPPER CANADA DRIVE
CLEARWATER, ON N7W 1A4 CANADA

GREEN COUNTRY SHREDD1NG & RECYCLING
PO BOX 52036
TULSA, OK 74152-0036

GREEN COUNTRY VENDOR, INC.
ATTN: AARON NEVEU

4146 SOUTH 70TH EAST AVENUE
TULSA, OK 74145

GUANGZHOU DELSUN STEEL CO LTD

ATTN: MAGGIE LIN

3 JINXIU ROAD WEST SECTION OF GUANGZHOU
ECONOMIC & TECHNICAL DEVELOPMENT DISTRICT
GUANGZHOU, GUANGDONG PROVINCE CHINA

GUANGZHOU DELSUN STEEL STRUCTURE CO. LTD.
3 JINXIU ROAD
GUANGZHOU, GUANGZHOU 510730 CHINA

H.G. FLAKE SUPPLY COMPANY
ATTN: DAVE STORMS

14113 E APACHE ST

TULSA, OK 74116-1410

HARPENAU POWER & PROCESS INC
11370 STRANG LINE ROAD
LENEXA, KS 66215

HAYDEN CORPORATION
333 RIVER ST
WEST SPRINGFIELD, MA 01089-3603

HAZTEK INC
143 MEDFORD MT HOLLY ROAD
MEDFORD LAKES, NJ 08055

HIGH DESERT SUPPLY
46 NORTH 900 EAST
Page 13

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
ST GEORGE, UT 84770

HILTI INC
PO BOX 650756
DALLAS, TX 75265

HOLLINGSWORTH & VOSE COMPANY INC
ATTN: EARL BRANCH

PO BOX 416392

BOSTON, MA 02241

HOLLIS LINE MACHINE CO INC
ATTN: SCOTT MAHONEY

295 SOUTH MERRIMACK RD
HOLLIS, NEW HAMPSHIRE 03049

HOLZ RUBBER COMPANY, INC.
ATTN: JOHN PARDEE

1129 S SACRAMENTO ST
LODI, CA 95240-5701

HOOPER CORPORATION
PO BOX 88866
MILWAUKEE, WI 53288

HOWELL MACDUFF CO., INC.
ATTN: PAT MCCULLEY

PO BOX 759

BOYLSTON, MA 01505-0759

HRST INCORPORATED
6557 CITY WEST PARKWAY
EDEN PRAIRIE, MN 55344

HT ENGINEERS
411 W 7200 S #301
MIDVALE, UT 84047

HYPERSHELL CONSULTANTS INC.
740 GALT WEST STREET
SHERBROOKE, QC JlH 123 CANADA

HYPERSHELL CONSULTANTS, INC.

ATTN: FRANCOIS CARRIER

740 GALT WEST

SUITE 401

SHERBROOKE, QUEBEC JlH 1Z3 CANADA

HYPERSHELL INDUSTRIES, INC.

ATTN: FRANCOIS CARRIER

740 GALT WEST

SUITE 401

SHERBROOKE, QUEBEC JlH 1Z3 CANADA

II-VI INFRARED, A DIV OF II-VI INC
ATTN: CONNIE CHEPELSKY

II-VI INFRARED, A DIV OF II-VI INC
375 SAXONBURG BOULEVARD

SAXONBURG, PA 16056

IMAGE SOLUTIONS LLC
12 NATIONAL AVENUE
FLETCHER, NC 28732
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Attachment - Innova 4.3.2019 Creditor Matrix.txt

IMS MASONRY INC.
335 SOUTH 1250 WEST
LINDON, UT 84042

IMS STEEL CORP
1903 S 4370 W
SALT LAKE CITY, UT 84104

INDEECO
PO BOX 638472
CINCINNATI, OH 45263

INDUSTRIAL PIPING PRODUCTS INC
PO BOX 27395
SALT LAKE CITY, UT 84127

INDUSTRIAL RUBBER SPECIALTIES, INC.
P.O. BOX 37
HICKORY, NC 28603

INDUSTRIAS METALICAS DE MONCLOVA S.A. DE C.V.
LIBRAMIENTO CARLOS SALINAS DE GORTARI KM 0.4
MONCLOVA, COAHUILA 25830 MEXICO

INDUSTRIAS METALICAS DE MONCLOVA SA DE CV
ATTN: DIANA OLIVARES

LE MANZ 900 COLONIA GUADALUPE

MONCLOVA, COAHUILA 25750 MEXICO

INFOSIGHT CORPORATION
PO BOX 5000
CHILLICOTHE, OH 45601

INNOVA GLOBAL HOLDINGS LIMITED PARTNERSHIP
ATTN: SHERYL PHILLIPS VICE PRESIDENT ,HR
4000 - 4TH STREET SE

SUITE 222 ,

CALGARY, AB T2G 2W3 CANADA

INNOVA GLOBAL INC
222 4000 4 STREET SE
CALGARY, AB T2G 2W3 CANADA

INNOVA GLOBAL INC.

_ C/O THE CORPORATION COMPANY
1833 S. MORGAN RD.

OKLAHOMA CITY, OK 73128

INNOVA GLOBAL INC. . (FORMERLY AEM EMISSIONS MANAGEMENT INC., FORMERLY ATCO
EMISSIONS MANAGEMENT INC.)

ATTN: SHERYL PHILLIPS VICE PRESIDENT ,HR

4000 - 4TH STREET SE

SUITE 222-

CALGARY, AB TZG 2W3 CANADA

INNOVA GLOBAL LIMITED PARTNERSHIP

ATTN: SHERYL PHILLIPS VICE PRESIDENT ,HR
4000 - 4TH STREET SE

SUITE 222

CALGARY, AB TZG 2W3 CANADA

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
INNOVA GLOBAL LLC
C/O THE CORPORATION TRUST COOMPANY
`CORPORATION TRUST CENTER
1209 ORANGE ST.
WILMINGTON, DE 19801

INN§VA GLOBAL LLC CFORMERLY AEM NOISE MANAGEMENT LLC, FORMERLY ATCO NOISE MANAGEMENT
LLC .

ATTN: SHERYL PHILLIPS VICE PRESIDENT ,HR

4000 - 4TH STREET SE

SUITE 222

CALGARY, AB T2G 2W3 CANADA

INNOVA GLOBAL LTD.

ATTN: SHERYL PHILLIPS VICE PRESIDENT ,HR
4000 - 4TH STREET SE

SUITE 222

CALGARY, AB T2G 2W3 CANADA

INNOVA GLOBAL OPERATING LTD.

ATTN: SHERYL PHILLIPS VICE PRESIDENT ,HR
4000 - 4TH STREET SE

SUITE 222

CALGARY, AB T2G 2W3 CANADA

INNOVA GLOBAL ST. GEORGE STEEL DIVISION
ATTN: GUY MATTHEWS

1301 E. 700 N

ST. GEORGE, UT 84770

INNOVATIVE CONTROL SOLUTIONS INC.
1500 PRECISION DRIVE, SUITE 150
PLANO, TX 75074

INOVAR PACKAGING GROUP, INC
ATTN: DIAN MACK

10470 MILLER ROAD

DALLAS, TX 75238

INTERNAL REVENUE SERVICE
PO BOX 7346
PHILADELPHIA, PA 19101-7346

INTERNATIONAL CUSTOM CONTROLS LLC
'ATTN: BILL PEPPER

PO BOX 1186

SAPULPA, OK 74067

INTERNATIONAL PAINT, INC.
ATTN: RAHUL SHARMA

PO BOX 847202

DALLAS, TX 75284-7202

INTERTEK TESTING SERVICES NA INC
ATTN: TIMOTHY BUTLER

PO BOX 405176

ATLANTA, GA 30384-5176

INTSEL STEEL DISTRIBUTORS
PO BOX 301212
DALLAS, TX 75303

IPC LYDON LLC
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Attachment - Innova 4.3.2019 Creditor Matrix.txt
284 BODWELL STREET
AvoN, MA 02322

J & G STEEL CORPORATION
ATTN: AMMIE GAYLOR

2429 INDUSTRIAL ROAD
SAPULPA, OK 74066

J & M STEEL ERECTORS LLC
PO BOX 442
DURHAM, CT 06422

J.J. BAFARO, INC
PO BOX 943
WORCESTER, MA 01613-0943

JACKSON STEEL INC.
3000 ASHEVILLE HIGHWAY
HENDERSONVILLE, NC 28791

JATASCO, INC
EADS DISTRIBUTION LLC
DALLAS, TX 75373

JEFF TROST

ATTN: N. JEFFREY TROST
15611 N 102 E AVE
COLLINSVILLE, OK 74021

JEFFREY ADKINS

ATTN: JEFFREY ADKINS
2349 W IRONWOOD DR
CHANDLER, AZ 85224

JENKINS OIL - CEDAR CITY
PO BOX 1356
CEDAR CITY, UT 84721

JESSE BusINEss soLuTIoNs LTD
suITE 20033, ZO/F

ToWER 5

33 cANToN ROAD

TSIM sHA TsuI, KowLooN HoNG KoNG

JOHNSON CONTROLS FIRE PROTECTION LP
8901 HWY 87
LUBBOCK, TX 79423

JOHNSON CONTROLS SECURITY SOLUTIONS LLC
ATTN: CUSTOMER SERVICE

PO BOX 371967

PITTSBURGH, PA 15250-7967

JOHNSON, JIM
SUITE 300 73 WATER STREET
CAMBRIDGE, ON N1R 7L6 CANADA

JONAS INC
4313 NEBRASKA COURT
POMFRET, MD 20675

JONES DAY
ATTN: DAVID WALLACH
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Attachment - Innova 4.3.2019 Creditor Matrix.txt
555 CALIFORNIA ST.
26TH FLOOR
SAN FRANCISCO, CA 94104

JONES PAINT & GLASS - ST GEORGE
122 S 1200 E
ST GEORGE, UT 84790

JS TECHWIN

ATTN: KI HOON CHUNG

216HO, 2 DONG, LSRO 92, DONGANGU

DONGANKU, ANANGSI, KYUNGKIDO 14117 SOUTH KOREA

JSC ENGINEERS
128 NW NUTALL DR
LEES SUMMIT, MO 64081

KDC INC DBA DYNALECTRIC
4462 CORPORATE CENTER DRIVE
LOS ALAMITOS, CA 90720

KETIV TECHNOLOGIES OF CALIFORNIA INC.
3010 SATURN STREET, #100
BREA, CA 92821

KHMHE

ATTN: HEE-ZOO JIN

#878-1, MAHEUL-RI
MUAN-MYEON

MIRYANG-SI

GYEONGSANG, KOREA SOUTH

KING OF FREIGHT, LLC
ATTN: WHITNEY COCHRAN
110 S MAIN STREET
SUITE 300

WICHITA, KS 67202

KONECRANES
1040 SUTTON DRIVE
BURLINGTON, ON L7L 6B8 CANADA

KPMG LLP
PO BOX 4348, STATION A
TORONTO, ON M5W 7A6 CANADA

L. A. KING CORP
ATTN: STEPHANIE
320 N BOSTON AVE
TULSA, OK 74103-1620

LAKE POWELL NEWSPAPERS INC
PO BOX 1716
PAGE, AZ 86040

LASER COMPANY (AHMED M. ZAYTOON)

ATTN: AHMED ZAYTOON

PO BOX 42676

SECOND INDUSTRIAL CITY, RIYADH UNITED ARAB EMIRATES

LATHAM & WATKINS LLP
PO BOX 7247-8181
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Attachment - Innova 4.3.2019 Creditor Matrix.txt
PHILADELPHIA, PA 19170

LAWRENCE METAL FORMING INC
PO BOX 2215
PEABODY, MA 01960-7215

LETOURNEAU A J INC.
PO BOX 70573
WORCESTER, MA 01607-0573

LETTERS EXPRESS INC, DBA WORLDWIDE EXPRESS
ATTN: KATHY TIRITILLI

WORLDWIDE EXPRESS

29228 NETWORK PLACE

CHICAGO, IL 60673

LINK CORPORATION
380 SHELDON DRIVE UNIT 6
CAMBRIDGE, ON N1T 1A9 CANADA

LIVINGSTON INTERNATIONAL INC
PO BOX 2168
VANCOUVER, BC V6B 4R5 CANADA

LMB (NEWCASTLE) ELECTRICAL_ENGINEERING LTD
UNIT 1D PEGSWOOD INDUSTRIAL ESTATE
MORPETH, NE61 6HZ UNITED KINGDOM

LYNN MANUFACTURING, INC.
ATTN: LORI FOLEY

15 MARION STREET

LYNN, MA 01905

M&C TECHGROUP NORTH AMERICA
6019 OLIVAS PARK DRIVE SUITE G
VENTURA, CA 93003

M.T. LOGISTICS
91 BURNETT AVE

CAMBRIDGE, ON N1T 1J7 CANADA

MACO ENTERPRISES INC
7806 6TH LINE
DRAYTON, ON NOG 1P0 CANADA

MADEXCO DRAFTING SERVICES, INC.
ATTN: MARK MADDEN

26752 DUCK POND DRIVE
CLAREMORE, OK 74019

MAILRUN COURIER SERVICE
ATTN: CYNTHIA HARTMAN
PO BOX 21228 DEPT 197
TULSA, OK 74121

MALTSBERGER INDUSTRIAL
PO BOX 298
CLEVELAND, OK 74020-0298

MANAGEMENT SYSTEM SOLUTIONS LIMITED
BLYTH CEC RIDLEY STREET
Page 19

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
BLYTH, ENGLAND NE24 3AG UNITED KINGDOM

MARco, INC.
PO BOX 660831
DALLAS, Tx 75266-0831

MARCUS DUNLAP

ATTN: MARCUS DUNLAP
5199 N MINGO ROAD
TULSA, OK 74117

MARMON KEYSTONE LLC
PO BOX 96657
CHICAGO, IL 60693

MATTHEW KESSLER
745 16TH STREET NE
SALEM, OR 97301

MBCI METAL ROOF AND WALL SYSTEMS
PHOENIX
TOLLESON, AZ 85353

MCAFEE & TAFT
10TH FLOOR, TWO LEADERSHIP SQUARE
OKLAHOMA CITY, OK 73102~7103

MCMASTER CARR SUPPLY CO
ATTN: MCMASTER CARR

PO BOX 7690

CHICAGO, IL 60680-7690

MCMASTER-CARR SUPPLY COMPANY
PO BOX 7690
CHICAGO, IL 60680-7690

MCNICHOLS COMPANY
PO BOX 101211
ATLANTA, GA 30392~1211

MCPHEE ELECTRIC LTD
505 MAIN STREET
FARMINGTON, CT 06032

MERIDIAN INDUSTRIAL GROUP
529 S EAST ST
HOLYOKE, MA 01040-6005

MICHAEL BUSACK
ATTN: MICHAEL BUSACK

MIDDLETON REUTLINGER
ATTN: ELISABETH S GRAY
401 S. 4TH STREET
SUITE 2600

LOUISVILLE, KY 40202

MIDWEST EXPANDED METAL, INC.
ATTN: DAN HANSON

301 INDUSTRIAL BLVD

WACONIA, MN 55387~1766

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Attachment ~ Innova 4.3.2019 Creditor Matrix.txt
MIDWEST MANUFACTURA Y DISTRIBUCION DE
MONTERREY, SA DE CV
ADODACA, NUEVO LEON 66634 MEXICO

MIDWEST TOXICOLOGY SERVICES
603 E WASHINGTON STREET SUITE 200
INDIANAPOLIS, IN 46204

MIRATECH - KNOXVILLE
201 PERIMETER PARK RD SUITE A
KNOXVILLE, TN 37922

MKK CONSULTING ENGINEERS INC
IMEG
ROCK ISLAND, IL 61201

MOBILE MINI
P.O. BOX 79149
PHOENIX, AZ 85062-9149

MOBILE MODULAR

ATTN: CHARLENE DILLEY
PO BOX 45043

SAN FRANCISCO, CA 94145

MODULAR S PACE CORPORATION
12603 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693

MORGAN ADVANCED MATERIALS
1185 WALKERS LINE
BURLINGTON, ON L7M 1L1_ CANADA

MORSE ELECTRIC INC
500 W SOUTH ST
FREEPORT, IL 61032

MOUNTAIN WEST PIPE AND SUPPLY
3001 SOUTH 300 WEST
SOUTH SALT LAKE, UT 84115

MPHS INC
10941 DAY RD
HOUSTON, TX 77043

MSC INDUSTRIAL SUPPLY CO INC
PO BOX 953635
SAINT LOUIS, MO 63195~3635

MUNTERS CORP.

ATTN: JUNE HAMEL

DEPT CH 19927

PALATINE, IL 60055-9927

MUNTERS CORPORATION
210 6TH ST SE
FORT MYERS, FL 33907

MYERS-AUBREY

ATTN: LORI LENHART
PO BOX 470370

TULSA, OK 74147-0370

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
NATIONAL GRID
ATTN: ACCOUNTS PAYABLE
PO BOX 11737
NEWARK, NJ 07101-4737

NEPONSET CONTROLS INC
71 ELM ST STE 1
FOXBORO, MA 02035-2519

NES GLOBAL LLC

ONE MEMORIAL CITY PLAZA
800 GESSNER DRIVE

SUITE 300

HOUSTON, TX 77024

NEW ENGLAND INDUSTRIAL TRUCK INC
ATTN: DEBBIE QUEEN

28519 NETWORK PLACE

CHICAGO, IL 60673-1285

NEW MILFORD LUMBER
ATTN: THALIA ROSALES
PO BOX 185

CHELSEA, NY 12512-0185

NORTHEAST CONTROLS INC
ATTN: PAM PATRICK

3 ENTERPRISE AVE

CLIFTON PARK, NY 12065-3423

NORTHEAST WHOLESALE LUMBER
ATTN: E PIXLEY

PO BOX 15207

SPRINGFIELD, MA 01115-5207

NORTHSTAR STEEL & ALUMINUM INC
ATTN: NIKKI SOSNICK

P O BOX 4886

MANCHESTER, NH 03103

NORTON ROSE FULBRIGHT CANADA LLP
ATTN: HOWARD GORMAN AND JOHN CASSELL
400 3RD AVENUE SW

SUITE 3700

CALGARY, AB T2P 4H2 CANADA

NOVASPECT INC
PO BOX 7621
CAROL STREAM, IL 60197

NUTEC FIBRATEC SA DE CV.
BLVD INDUSTRIAS
S/COL ONIA

RAMOS ARIZPE, COAHUILA 25900 MEXICO

NXTNANO, LLC

ATTN: KARIN ROEPER
2201 EL ANDERSON BLVD.
CLAREMORE, OK 74017

OBSUWAN, PREECHA
199/9 M. 4 TAMBOL SAMNUKTON
v Page 22

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
BANCHANG, RAYONG 21130 THAILAND

OFFICE DEPOT, INC

ATTN: BONNIE KNUTZ

PO BOX 633204

CININNATI, OH 45263-3204

OFFICE OF THE US TRUSTEE
224 S. BOULDER AVENUE
SUITE 225

TULSA, OK 74103

OK FILTER COMPANY INC.
14602 CLEAN AIR DR
TULSA, OK 74116-2645

OKLAHOMA EMPLOYMENT SECURITY COMMISSION
PO BOX 53039
OKLAHOMA CITY, OK 73152~3039

OKLAHOMA EMPLOYMENT SECURITY COMMISSION (505(B) REQUESTS)
ATTN: LEGAL DEPARTMENT

PO BOX 53039

OKLAHOMA CITY, OK 73152-3039

OKLAHOMA TAX COMMISSION

ATNN: GENERAL COUNSEL'S OFFICE
100 N. BROADWAY AVE.

SUITE 1500

OKLAHOMA CITY, OK 73102-5601

OLYMPIA INTERNATIONAL INC
4203 PAN AMERICAN
LAREDO, TX 78042-6836

OLYMPIA INTERNATIONAL, INC.
ATTN: DANNY VELASQUEZ

4203 PANAMERICAN BLVD
LAREDO, TX 78045

O'NEAL INDUSTRIES
ATTN: TOM COMBS

PO BOX 934502

ATLANTA, GA 31193-4502

ORADELL CONSTRUCTION COMPANY INC
37 WOODLAND ROAD SUITE 3
ROSELAND, NJ 07068

OSTACHE, IULIAN
SUITE 300 73 WATER STREET N
CAMBRIDGE, ON N1R 7L6 CANADA

OVERHEAD DOOR COMPANY
3291 PEORIA STREET
AURORA, CO 80010

OWI CONTRACTORS LLC
1681.BARNUM AVENUE SUITE 2
STRATFORD, CT 06614

PAC-VAN INC.
75 REMITTANCE DRIVE - SUITE 3300
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Attachment ~ Innova 4.3.2019 Creditor Matrix.txt
CHICAGO, IL 60675

PAGE INDUSTRIAL SUPPLY
PO BOX 90 SLC
SALT LAKE CITY, UT 84119

PBI,,INC.
123 SWEETEN cREEK RoAD, suITE A
AsHEvILLE, NC 28803

PDM STEEL
4475 ALTO AVE
LAS VEGAS, NM 89115

PENN STAINLESS PRODUCTS
ATTN: JIM SULGER

190 KELLY ROAD
QUAKERTOWN, PA 18951

PERFORMANCE CONTRACTING INC
PO BOX 872346
KANSAS CITY, MO 64187

PERFORMANCE DIESEL INC
687 N INDUSTRIAL RD
ST GEORGE, UT 84770

PETERSON STEEL CORPORATION
61 WEST MOUNTAIN ST
WORCESTER, MA 01606

PLANT EQUIPMENT INC
12869 INDUSTRIAL PARK BLVD
PLYMOUTH, MN 55441

POLYONE CORPORATION
ATTN: MERCEDES MCCLELLAN
PO BOX 121176

DEPT 1176

DALLAS, TX 75312-1176

PPG ARCHITECTURAL FINISHES INC
PO BOX 676340
DALLAS, TX 75201

PRECISION FITTING & GAUGE CO.
ATTN: LARRY MCFALL

DEPT. 3653

TULSA, OK 74182~0001

PRE~FAB BUILDERS, INC
3006 E. CORONADO AVENUE
ANAHEIM, CA 92806

PREFERRED SHIPPING INC
ATTN: JERRY ROCKWELL
12835 JESS PIRTLE BLVD.
SUGARLAND, TX 77478

PRICEWATERHOUSECOOPERS INC.
ATTN: PAUL DARBY
111-5TH AVENUE SW
SUITE 3100
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Attachment - Innova 4.3.2019 Creditor Matrix.txt
CALGARY, AB T2P 5L3 CANADA

PSE&G
PO BOX 14444
NEW BRUNSWICK, NJ 08906-4444

PURECOAT NORTH LLC

ATTN: DAISY RODRIGUEZ

PO BOX 4406

WEST PALM BEACH, FL 33402-4406

QUALITY FASTENER PRODUCTS
ATTN: FRED BETTI

276 BOSTON TURNPIKE
SHREWSBURY, MA 01545

QUEST ENGINEERING
2300 EDGEWOOD AVE S
MINNEAPOLIS, MN 55426

RAUCH, BRENT
93 SOMERSET MANOR SW
CALGARY, AB T2Y 3V8 CANADA

RAY ENGINEERING CO INC
1 PARK DR STE 15
WESTFORD, MA 01886-3535

REGAL INDUSTRIAL CORP
PO BOX 291
DONORA, PA 15033

RESCUE HEAT & AIR
ATTN: TOM HUNT
22177 S 4150 ROAD
CLAREMORE, OK 74019

REXEL

ATTN: REMITTANCE ADVICE
PO BOX 844519

DALLAS, TX 75284

RICHMOND COUNTY WATER DEPARTMENT
PO BOX 127
ROCKINGHAM, NC 28380

RIVERFRONT MACHINE, INC.
ATTN: JOHN ZURLIENE

6B WOLFER INDUSTRIAL PARK
SPRING VALLEY, IL 61362-9702

RME ASSOCIATES INC.
ATTN: EM MOHAMMED
PO BOX 20358

BRADENTON, FL 34204
ROBERT MCGINTY

27783 ROTA

MISSION VIEJO, CA 92692

ROBERTSON BUILDING SYSTEMS LTD
Page 25

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
1343 SANDHILL DR
ANCASTER, ON L9G 4V5 CANADA

ROLLED ALLOYS INC
DEPT #33901 PO BOX 67000
DETROIT, MI 48267

ROLLED ALLOYS, LP

PO BOX 67000

DEPT# 33901

DETROIT, MI 48267-0339

ROSEMOUNT INC
22737 NETWORK PLACE
CHICAGO, IL 60673

ROSENSTEIN FIST & RINGOLD
ATTN: JOHN HOWLAND

PARK CENTRE

525 S. MAIN

SUITE 700

TULSA, OK 74103

ROXUL INC
8024 ESQUESING LINE
MILTON, ON L9T 6W3 CANADA

ROZELL`INC
610 BISHOP STREET NORTH
CAMBRIDGE, ON N3H 4V6 CANADA

RULE COMPANY INC

ATTN: JOE STOCKTON

616 SOUTH ROCKFORD AVE.
TULSA, OK 74120

RUTIN KFT.

ATTN: ZOLTAN VEGH
H-1124 BUDAPEST FURJ U.2
HUNGARY

RUTIN LTD
45 BAJCSY-ZSILINNSZKY ST
DOMBROVAR, H-7200, HUNGARY HUNGARY

SAFETY-KLEEN CORP

ATTN: BRIAN HARTENDER

PO BOX 382066

PITTSBURGH, PA 15250-8066

SAMUEL SON & CO LTD
24784 NETWORK PLACE
CHICAGO, IL 60673

SATELLITE SPECIALIZED TRANSPORTATION INC
63211 SERVICES RD
BEND, OR 97701

SAVVY STAFFING SOLUTIONS, LLC
ATTN: WEIMING SUN

45 LINDEN STREET

WORCESTER, MA 01609

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Attachment - Innova 4.3.2019 creditor Mar;rix.txt
sAwATuDor\/r ENGINEERING (RAYoNG) Co. LTD
11/1 CHARoENPATTANA RoAD, HuAYPoNG
MUANG RAYONG, RAYONG 21150 THAILAND

SCHOLZEN INVESTMENT COMPANY
548 WEST 100 NORTH
HURRICANE, UT 84737

SCHOLZEN PRODUCTS COMPANY INC
PO BOX 628
HURRICANE, UT 84737

SCHULZ, PAUL
222-4000 4TH STREET SE
CALGARY, AB T2G 2W3 CANADA

SCOTIABANK COMMERCIAL CARD
23028 NETWORK PLACE
CHICAGO, IL 60673-1230

SECURITIES AND EXCHANGE COMMISSION
ATTN: REGIONAL DIRECTORS

BURNETT PLAZA

SUITE 1900

801 CHERRY STREET, UNIT 18

FORT WORTH, TX 76102

SERVICE PARTNERS, LLC
ATTN: ACCOUNTS RECEIVABLE
ARLINGTON, TX 76006

SETARO CONSTRUCTION CORP
ATTN: ROB SETARO
220 STAFFORD ST
WORCESTER, MA 01603-1144

SHELDON MECHANICAL CORPORATION
26015 AVENUE HALL
SANTA CLARITA, CA 91355

SHELF COMPANY NO. 79 S DE RL DE CV
JOSE J GARCIA TREVINO NO. 1000 EL MILAGRO
APODACA, NEUVO LEON 66634 MEXICO

SHELF COMPANY NO. 82 S DE RL DE CV
JOSE J GARCIA TREVINO NO 1000
APODACA, NUEVO LEON 66634 MEXICO

SHELF COMPANY NO. 94 S DE RL DE CV
JOSE J GARCIA TREVINO NO 1000 EL MILAGRO
APODACA, MEXICO 66634 MEXICO

SHERWIN WILLIAMS
ATTN: BRENT DAVIS
3699 S 73RD E AVE
TULSA, OK 74145-3231

SHOFFNERKALTHOFF MES INC
PO BOX 10048
KNOXVILLE, TN 37939

SIEMENS ENERGY, INC
5101 WESTINGHOUSE BLVD
Page 27

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
CHARLOTTE, NC 28273 ' '

SIMCO COATINGS INC.

ATTN: PAUL JUNEJA

211 GUNTHER LN

BELLE CHASSE, LA 70037-3157

SIX STATES DISTRBUTORS INC
28534 NETWORK PLACE
CHICAGO, IL 60673

SKY BLUE INDUSTRIES INC
PO BOX 187
OGDEN, UT 84402

SMALL BUSINESS ADMINISTRATION
ATTN: OFFICE OF DISTRICT COUNSEL
201 NW 6TH STREET

SUITE 116

OKLAHOMA CITY, OK 73102

SMITH & LOGSDON INC.
ATTN: DAVID VIRGIN
645 BERGMAN STREET
LOUISVILLE, KY 40203

SOCIAL SECURITY ADMINISTRATION

ATTN: BANKRUPTCY COORDINATOR

OFFICE OF GENERAL COUNSEL, REGION VI
131 YOUNG STREET

SUITE A702

DALLAS, TX 75202-5433

SOMASUNDARAM CROWELL MORING LLP
ATTN: NIRAN SEKARAM

3 EMBARCADERO CENTER

26TH FLOOR

SAN FRANCISCO, CA 94111

SOONER FREIGHT FORWARDERS, INC
ATTN: CAROL LOTT

PO BOX 472305

TULSA, OK 74147-2305

SOUND SEAL

ATTN: RICK ACKLEY

PO BOX 844545

BOSTON, MA 02284-4545

SOUTHERN INDUSTRIAL CONSTRUCTORS INC
6101 TRIANGLE DRIVE
RALEIGH, NC 27617

SOUTHWESTERN INDUSTRIES INC.
ATTN: KURT HUFNAGLE

2615 HOMESTEAD PL

RANCHO DOMINGUEZ, CA 90220*5610

SPECIALTY GASKETS
2-295 SUPERIOR BLVD
MISSISSAUGA, ON L5T 2L6 CANADA

SPRINT
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Attachment - Innova 4 3.2019 Creditor Matrix.txt
PO BOX 96031
CHARLOTTE, NC 28296-0031

SQM CO., LTD.
#503, 241, GYEDONG-RO
GIMHAE-SI, GYEONGSANGNAM-DO 51004 KOREA, REPUBLIC OF

STELCO ELECTRIC LLC
& CONSOLIDATED ELECTRICAL DISTRIBUTORS
ATLANTA, GA 31193

STERLING COMMERCIAL ROOFING INC
2711 LOCUST STREET
STERLING, IL 61081

STERLING TALENT SOLUTIONS
PO BOX 35626
NEWARK, NJ 07193-5626

STRAUB METAL INTERNATIONAL
ATTN: DEE MCCONNEL

102 SOLOMON ST

ASHLEY, PA 18706-3000

SUDBURY INTERNATIONAL ENGINEERED PRODUCTS LTD
27 MONARCH RD, UNIT #6
GUELPH, ON N1K 1N4 CANADA

SUDBURY INTERNATIONAL ENGINEERED PRODUCTS LTD.
ATTN: GRAHAM SUDBURY

27 MONARCH ROAD

UNIT 6

GUELPH, ON N1K 1N4 CANADA

SUNBELT RENTALS INC
PO BOX 409211
ATLANTA, GA 30384

SUPPLYWORKS (FRMLY AMSAN)
PO BOX 415133
BOSTON, MA 02241-5133

SWAGELOK OKLAHOMA/WEST TULSA
OKLAHOMA FLUID SOLUTIONS
1906 N. YELLOWWOOD

BROKEN ARROW, OK 74102

SWANSON FLO CO.
151 CHESHIRE LANE N SUITE 700
PLYMOUTH, MN 55441

TEAM INDUSTRIAL SERVICES, INC.
ATTN: CECILIA HICKOK

PO BOX 842233

DALLAS, TX 75284-2233

TEVITA TUPOU
PO BOX 311
WASHINGTON, UT 84780

THE ARTHUR LOUIS STEEL COMPANY
185 WATER STREET - PO BOX 229
GENEVA, IA 44041
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Attachment - Innova 4.3.2019 Creditor Matrix.txt

THE CHAPIN & BANGS CO, INC.
ATTN: DON HAMILTON EXT.153
PO BOX 1117

BRIDGEPORT, CT 06601-1117

THE REYNGLDS COMPANY
10 GATES STREET
GREENVILLE, SC 29611

THE SHERWIN WILLIAMS CO
244 N BLUFF ST 3
ST GEORGE, UT 84770

THERMAL CERAMICS
PO BOX 402696
ATLANTA, GA 30384-2696

TIERNEY & DALTON ASSOCIATES INC.
ATTN: MAUREEN DUFFY

PO BOX 652

DOUGLAS, MA 01516-0652

TITAN FABRICATORS INC
PO BOX 930287
ATLANTA, GA 31193

TMF CORPORATE SERVICES (AUST) PTY LTD
PO BOX A2224
SYDNEY SOUTH, NSW 1235 AUSTRALIA

TMF GLOBAL SERVICES (UK) LIMITED
6 ST ANDREW STREET
LONDON, EC4A 3AE UNITED KINGDOM

TOTAL QUALITY LOGISTICS, LLC
PO BOX 634558
CINCINNATI, OH 45263-4558

TRADESMEN INTERNATIONAL LLC
8 GLENN WILLOW DR SUITE 6
ARDEN, NC 28704

TRIMECH SOLUTIONS, LLC
ATTN: RENEE HUNTLEY
4461 COX ROAD

SUITE 302

GLEN ALLEN, VA 23060

TRITECH FALL PROTECTION SYSTEMS LTD
3610 MANCHESTER RD SE
CALGARY, AB T2G 325 CANADA

TRU-FIT PRODUCTS OF UTAH
460 LAKE ROAD
MEDINA, OH 44256

TUCKER MECHANICAL, INC
367 RESEARCH PARKWAY
MERIDEN, CT 06450

TULSA COUNTY TREASURER
ATTN: TULSA COUNTY TREASURER
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Attachment - Innova 4.3.2019 Creditor Matrix.txt
500 S. DENVER AVE., 3RD FLOOR
TULSA, OK 74103

TULSA DATACENTER LLC
2448 E. 81ST ST SUITE 2800
TULSA, OK 74137

TULSA PACKING SPECIALIST, INC.
ATTN: DEBBIE DEARMAN

4245 S JACKSON AVE

TULSA, OK 74107

TVS CARTRIDGE AIR FILTERS
ATTN: STACY ABNEY
3040 DUBLIN CIRCLE
BESSEMER, AL 35022

TWILIGHT, S.A. DE C.V.
ALFONSO REYES 2612 COL. DEL PASEO RESIDENCIAL
MONTERREY, NUEVO LEON 64920 MEXICO

ULINE SHIPPING SUPPLY
P. O. BOX 88741
CHICAGO, IL 60680-1741

UNITED RENTALS
PO BOX 100711
ATLANTA, GA 30384-0711

UNITED STATES DEPARTMENT OF AGRICULTURE
CONSOLIDATED FARM SERVICE AGENCY
FEDERAL BUILDING

101 SOUTH MAIN STREET

SUITE 351

TEMPLE, TX 76501~7686

UNITED STATES DEPARTMENT OF AGRICULTURE

RURAL HOUSING SERVICE CONSOLIDATED FARM SERVICE
FEDERAL BUILDING

101 SOUTH MAIN STREET

SUITE 351

TEMPLE, TX 76501-7686

UNITED STATES DEPARTMENT OF AGRICULTURE
ATTN :OFFICE OF GENERAL COUNSEL

100 USDA .

SUITE 225

STILLWATER, OK 74074-2656

UNITED STATES DEPARTMENT OF EDUCATION
DEBT COLLECTION SERVICE

111 N. CANAL STREET

SUITE 1009

CHICAGO, IL 60606-7204

UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES OGC-1
ATTN: REGIONAL CHIEF COUNSEL

DHHS OFFICE OF GENERAL COUNSEL

120 MAIN STREET

SUITE 1330

DALLAS, TX 75202-4348

UNITED STATES DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
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Attachment - Innova 4.3.2019 Creditor Matrix.txt
ATTN: ASSET MANAGEMENT
1516 SOUTH BOSTON AVE.
#100
TULSA, OK 74119-4045

UNITED STATES DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
TCBY TOWER
LITTLE ROCK, AK 72201-348

UNITED STATES DEPARTMENT OF THE INTERIOR
ATTN OFFICE OF THE FIELD SOLICITOR

7906 EAST 33RD STREET

SUITE 100

TULSA, OK 74145

UNITED STATES DEPARTMENT OF VETERAN AFFAIRS
112 HONOR HEIGHTS DRIVE

BUILDING 7

MUSKOGEE, OK 74401

UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
ATTN: TERRY SYKES (6RC-EW)

US EPA REGION 6 BANKRUPTCY CONTACT

OFFICE OF REGIONAL COUNSEL

1445 ROSS AVE., SUITE 1200

DALLAS, TX 75202

UNITED STATES POSTAL SERVICE
ATTN: LAW DEPARTMENT

US POSTAL SERVICE

9350 SOUTH 150 EAST

SUITE 800

SANDY, UT 84070-2716

UNIVERSAL VENTILATION LTD.
BAY 4 412 53RD AVENUE S.E.
CALGARY, AB T2H 0N4 CANADA

UPS
PO BOX 650690
DALLAS, TX 75265-0690

UPS SUPPLY CHAIN SOLUTIONS, INC
28013 NETWORK PLACE
CHICAGO, IL 60673-1280

VAA, LLC
2300 BERKSHIRE LANE NORTH SUITE 200
PLYMOUTH, MN 55441

VAW SYSTEMS
1300 INKSTER BLVD
WINNIPEG, MB R2X 1P5 CANADA

VERACITY NETWORKS
357 S 670 W SUITE 300
LINDON, UT 84042

VERIZON LANDLINE
PO BOX 15043
ALBANY, NY 12212-5043

VERIZON WIRELESS
Page 32

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
PO BOX 15062 ’
ALBANY, NY 12212-5062

VIKING ERECTORS CORPORATION
PO BOX 1336
MCMURRAY, PA 15317

VOGT POWER INTERNATIONAL INC.
C/O THE CORPRATION COMPANY
1833 S. MORGAN RD.

OKLAHOMA CITY, OK 73128

WAITES COMPANY INC
ATTN: LARRY BRUSO
PO BOX 907
WORCESTER, MA 01613

WALLACE, DEREK
SUITE 222 4000 4 STREET SE
CALGARY, AB T2G 2W3 CANADA

WARD PROCESS INC
311 HOPPING BROOK RD
AMERICAN ACOUSTICAL PRODUCTS

HOLLISTON, MA 01746-1456

WASHBURN-GARFIELD CORP

ATTN: MARK STRZELEWICZ

100 PRESCOTT STREET -PO BOX 947
WORCESTER, MA 01613-0947

WEBER GALLAGHER SIMPSON STAPLETON FIRES
2000 MARKET STREET, 13TH FLOOR
PHILADELPHIA, PA 19103

WEINTRAUB GENSHLEA CHEDIAK SPROUL
400 CAPITOL MALL, ELEVENTH FLOOR
SACRAMENTO, CA 95814

WEINTRAUB TOBIN CHEDIAK COLEMAN GRODIN LAW CORPORATION

ATTN: JAMES KACHMAR

400 CAPITOL MALL l
11TH FLOOR

SACREMENTO, CA 95814

WIEDENBECK, INC.
2451 KILGUST ROAD
MONONA, WI 53713

WILLCO SALES & SERVICE INC
PO BOX 320003
FAIRFIELD, CT 06825

WILLIAM W GRACE
ATTN: WILLIAM GRACE
9909 E 92ND ST NORTH
OWASSO, OK 74055

WILLIAMS SCOTSMAN
901 S BOND ST. SUITE 600
BALTIMORE, MD 21231-3357

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Attachment - Innova 4.3.2019 Creditor Matrix.txt
WINCHESTER PRECISION TECHNOLOGIES, LTD.
ATTN: DEBBIE CLEVELAND
41 HILDRETH ST
WINCHESTER, NH 03470~3121

WORCESTER INDUSTRIAL RUBBER SUPPLY
PO BOX 60119
WORCESTER, MA 01606

XPO LOGISTICS FREIGHT, INC.
ATTN: JIM CUPIT

PO BOX 5160

PORTLAND, OR 97208

YOKOGAWA C/O GK TECHSTAR LLC
ATTN: JENNIFER SKANK

802 WEST 13TH STREET

DEER PARK, TX 77536

ZEECO INC

PO BOX 974988
DALLAS, TX 75397

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

In re: -
Case No.
INNOVA GLOBAL LTD.
Chapter 15
Debtor in a foreign proceeding.
Joint Administration Pending

WJCOO€O¢CM€O¢WJWJ

 

CORPORATE OWNERSHIP STATEMENT

Pursuant to Bankruptcy Rules 1007(a) and Bankruptcy Rule 7007.1, and Local Rules
1007-1, 2003-2, 7007.1-1 and 9014-1(B).

INNOVA GLOBAL LTD., a

Corporate Debtor

|:| Party to an adversary proceeding
l:l Party to a contested matter
l:l l\/Iember of committee of creditors

Makes the following disclosure(s):

All corporations, other than a governmental unit, that directly or indirectly own ten percent
(10%) or more of any class of the corporation’s equity interest are listed below:

Owned 100% by TRIEMISSIONS HOLDINGS (US) LIMITED PARTNERSHIP
(the Chief Executive Office for TRIEMISSIONS HOLDINGS (US) LIMITED
PARTNERSHIP is Chief Executive Office: 4600, 400 - 3 Avenue SW Calgary,
AB T2P 4H2 (1,790,004.64 common shares issued to TriEmissions Holdings
(US) Limited Partnership).

OR

l:l There are no entities that directly or indirectly own 10% or more of any class of the
corporation’s equity interest.

Dated this __ day of April, 2019.

93567308.2 -' 1 -

 

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93567308.2

Respeotfully submitted,
ROSENSTEIN, FIST & RINGOLD

/S/ John E. Howlcmd
John E. Howland, OBA No. 4416
johnh@rfrlaw.com

Parl< Centre

525 South Main, Suite 700
Tulsa, Ol<lahoma 74103
Telephone: (918) 5 85-921 1
Facsimile: (918) 583-5617

and

NORTON ROSE FULBRIGHT US LLP
Steve A. Peirce

TX Bar No. 15731200 @ro hac vice pending)
Steve.peirce@nortonrosehilbright.com

300 Convent Street, Suite 2100
San Antonio, Texas 78205-3792
Telephone: (210) 224-5575
Facsimile: (210) 270-7205

COUNSEL FOR CANADIAN RECEIVER

Case 19-10653-R Document 1 Filed in USBC ND/OK on 04/04/19 Page 42 of 59

l hereby certify this to be a true copy ot

  
 

 

 

'I’YVVV‘

 

 

the original __ 7 _

Dated this O/;/ld
COURT FlLE NUMBER 1901-04589 ` 7

or Cle/ ot the Court

COURT COURT OF 985de B CH OF ALBERTA
JUDIClAl_ CENTRE CALGARY
PLAlNTlFF ATB FlNANClAL, AS AGENT
DEFENDANTS lNNOVA GLOBAL LTD., lNNOVA GLOBAL OPERATlNG LTD.,

lNNOVA GLOBAL LlMlTED PARTNERSH|P, 1938247 ALBERTA
LTD., lNNOVA GLOBAL HOLDlNGS LlM|TED PARTNERSH|P,
SHELF COMPANY NO. 798 DE R.L. DE C.V., SHELF COMPANY
NO. 828 DE R.L. DE C.V., lNNOVA GLOBAL lNC., lNNOVA
GLOBAL LLC, BRADEN MANUFACTUR|NG, L.L.C. lNNOVA
GLOBAL EUROPE B.V., GLOBAL POWER NETHERLANDS B.V.,
GLOBAL POWER PROFESS|ONAL SERVICES NETHERLANDS
B.V., BRADEN-EUROPE B.V., lNNOVA GLOBAL LlMlTED, and
INNOVA GLOBAL AUSTRAL|A PTY LIM|TED

DOCUlVlENT RECE|VERSH|P ORDER

ADDRESS FOR SERV|CE McCARTHY TETRAULT LLP

AND CONTACT Suite 4000, 421 7th Avenue SW

lNFORMAT|ON OF PARTY Calgary AB T2P 4K9

FlLlNG THiS DOCUl\/lENT Attention: Sean Collins / Walker W. MacLeod / Pantelis Kyriakakis
Phone:403 260 3531 / 3710 / 3536
Fax: 403 260 3501
Email: scol|ins@mccarthy.ca / Wmacleod@mccarthy.ca/

pkyriakakis@mccarthy.ca

DATE ON WH|CH ORDER WAS PRONOUNCED: April 1, 2019
NAME OF JUDGE WHO MADE TH|S ORDER: Justice B.E.C. Romaine
LOCATION OF HEARING Calgary, Alberfa

UPON the application (the “Application”) of ATB Financial (“ATB") in respect of the
Persons listed in Schedule "A” hereto (such Persons being the “Debtors”); AND UPON having
read the Application, the Afhdavit of Alex Corbett, sworn on March 31, 2019, and the Affidavit of
Katie Doran, sworn on April 1, 2019, filed; AND UPON reading the consent of
PricewaterhouseCoopers lnc., LlT to act as receiver and manager (the “Receiver”) of all of the
assets, properties, and undertakings of the Debtors, tiled; AND UPON hearing counsel for ATB
and any other persons present; lT lS HEREBY ORDERED AND DECLARED THAT:

174791/480397
MT DOCS 19021547v1

 

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_ 2 _
SERV|CE
1. The time for service of the notice of application for this order (the “Order”) is hereby

abridged and deemed good and sufficient and this application is properly returnable today.

APPOiNTMENT

2. Pursuant to section 243(1) of the Bankruptcy and lnsolvency Act, R.S.C. 1985, c. B-3
(the “BlA”), and sections 13(2) of the Judicature Act, R.S.A. 2000, c.J-2, 99(a) of the Business
Corporations Act, R.S.A. 2000, c.B-9, and 65(7) of the Personal Property Security Act, R.S.A.
2000, c. P-7, PricewaterhouseCoopers lnc., L|T is hereby appointed Receiver, without security,
of all of the Debtors current and future assets, undertakings and properties of every nature and
kind whatsoever, and wherever situate, including all proceeds thereof (the “Property").

RECEIVER’S POWERS

3. The Receiver is hereby empowered and authorized, but not obligated, to act at once in
respect of the Property and, without in any way limiting the generality of the foregoing, the
Receiver is hereby expressly empowered and authorized to do any of the following where the

Receiver considers it necessary or desirable:

(a) to take possession of and exercise control over the Property and any and all
proceeds, receipts and disbursements arising out of or from the Property;

'(b) to receive, preserve and protect the Property, or any part or parts thereof,
including, but not limited to, the changing of locks and security codes, the
relocating of Property to safeguard it, the engaging of independent security
personnel, the taking of physical inventories and the placement of such

insurance coverage as may be necessary or desirable;

(c) to manage, operate and carry on the business of the Debtors, including the
powers to enter into any agreements, incur any obligations in the ordinary course
of business, cease to carry on all or any part of the business, or cease to perform
any contracts of the Debtors;

(d) to engage consultants, appraisers, agents, experts, auditors, accountantsl
managers, counsel and such`other persons from time to time and on whatever
basis, including on a temporary basis, to assist with the exercise of the

1 74791/480397
MT DOCS 19021547V1

 

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_ 3 _

Receiver's powers and duties, including without limitation those conferred by this
Order;

(e) to purchase or lease machinery, equipment, inventories, supplies, premises or
other assets to continue the business of the Debtors or any part or parts thereof;

(f) to receive and collect all monies and accounts now owed or hereafter owing to
the Debtors and to exercise all remedies of the Debtors in collecting such
monies, including, without limitation, to enforce any security held by the Debtors;

(g) to settle, extend or compromise any indebtedness owing to or by the Debtors;

(h) to execute, assign, issue and endorse documents of whatever nature in respect
of any of the Property, whether in the Receiver's name or in the name and on
behalf of the Debtors, for any purpose pursuant to this Order;

(i) to undertake environmental or workers’ health and safety assessments of the
Property and operations of the Debtors;

(j) to initiate, prosecute and continue the prosecution of any and all proceedings and
to defend all proceedings now pending or hereafter instituted with respect to the
Debtors, the Property or the Receiver, and to settle or compromise any such
proceedings The authority hereby conveyed shall extend to such appeals or
applications for judicial review in respect of any order orjudgment pronounced in
any such proceeding, and provided further that nothing in this Order shall
authorize the Receiver to defend or settle the action in which this Order is made
unless otherwise directed by this Court. Without limiting the generality of the
foregoing, the Receiver is expressly authorized and empowered to commence,
advance and prosecute proceedings in the United States for the purposes of
obtaining an order from a court of competent jurisdiction in the United States
recognizing the within proceedings under Chapter 15 of Title 11 of the United
States Bankruptcy Code (the “US Code”) and to act as a foreign representative
for and on behalf of any of the Debtors in any proceeding that is commenced
under the US Code;

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MT DOCS 19021547v1

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_ 4 _

(k) to market any or all the Property, including advertising and soliciting offers in
respect of the Property or any part or parts thereof and negotiating such terms
and conditions of sale as the Receiver in its discretion may deem appropriate;

(l) to se|l, convey, transfer, lease or assign the Property or any part or parts thereof

out of the ordinary course of business:

(i) _ without the approval of this Court in respect of any transaction not
exceeding $250,000, provided that the aggregate consideration for all
such transactions does not exceed $1,000,000; and

(ii) with the approval of this Court in respect of any transaction in which the
purchase price or the aggregate purchase price exceeds the applicable
amount set out in the preceding clause,

and in each such case notice under subsection 60(8) of the Persona/ Property
Security Act, R.S.A. 2000, c. P-7 or any other similar legislation in any other
province or territory shall not be required

(m) to apply for any vesting order or other orders (including, without limitation,
confidentiality or sealing orders) necessary to convey the Property or any part or
parts thereof to a purchaser or purchasers thereof, free and clear of any liens or
encumbrances affecting such Property;

(n) to report to, meet with and discuss with such affected Persons (as defined below)
as the Receiver deems appropriate all matters relating to the Property and the
receivership, and to share information, subject to such terms as to confidentiality
as the Receiver deems advisable;

(o) to register a copy of this Order and any other orders in respect of the Property
against title to any of the Property, and when submitted by the Receiver for
registration this Order shall be immediately registered by the Registrar of Land
Titles of A|berta, or any other similar government authority, notwithstanding
Section 191 of the Land Titles Act, RSA 2000, c. L-4, or the provisions of any
other similar legislation in any other province or territory, and notwithstanding that
the appeal period in respect of this Order has not elapsed and the Registrar of
Land Titles shall accept all Affidavits of Corporate Signing Authority submitted by

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the Receiver in its capacity as Receiver of the Debtors and not in its personal
capacity;

4(p) to apply for any permits, licences, approvals or permissions as may be required
by any governmental authority and any renewals thereof for and on behalf of
and, if thought desirable by the Receiver, in'the name of the Debtors;

(q) to enter into agreements with any trustee in bankruptcy appointed in respect of
the Debtors, includingl Without limiting the generality of the foregoing, the ability
to enter into occupation agreements for any property owned or leased by the
Debtors;

(r) to exercise any shareholder, partnership, joint venture or other rights which the
Debtors may have; and

(s) to take any steps reasonably incidental to the exercise of these powers or the
performance of any statutory obligations;

and in each case where the Receiver takes any such actions or steps, it shall be
exclusively authorized and empowered to do so, to the exclusion of all other Persons,
including the Debtors, and without interference from any other Person (as defined
below).

DUTY TO PR¢MD_E ACCE_SS AND CO-OP_ERATION TO THE RECE|VER

4. (i) The Debtors, (ii) all of its current and former directors, officers. employees, agents,
accountants, legal counsel and shareholders and all other persons acting on its instructions or
behalf, and (iii) all other individuals, firms, corporations, governmental bodies or agencies, or
other entities having notice of this Order (all of the foregoing, collectively, being “Persons" and
each being a “Person”) shall forthwith advise the Receiver of the existence of any Property in
such Person’s possession or control, shall grant immediate and continued access to the
Property to the Receiver, and shall deliver all such Property (excluding Property subject to liens
the validity of which is dependent on maintaining possession) to the Receiver upon the
Receiver's request

5. All Persons shall forthwith advise the Receiver of the existence of any books,

documents, securities, contracts, orders, corporate and accounting records, and any other

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papers, records and information of any kind related to the business or affairs of the Debtors, and
any computer programs, computer tapes, computer disks or other data storage media
containing any such information (the foregoing, collective|y, the “Records") in that Person’s
' possession or control, and shall provide to the Receiver or permit the Receiver to make, retain
and take away copies thereof and grant to the Receiver unfettered access to and use of
accounting, computer, software and physical facilities relating thereto, provided however that
nothing in this paragraph or in paragraph 6 of this Order shall require the delivery of Records, or
the granting of access to Records, which may not be disclosed or provided to the Receiver due
to the privilege attaching to solicitor-client communication or documents prepared in
contemplation of litigation or due to statutory provisions prohibiting such disclosure.

6. lf any Records are stored or otherwise contained on a computer or other electronic
system of information storage, whether by independent service provider or otherwise, all
Persons in possession or control of such Records shall forthwith give unfettered access to the
Receiver for the purpose of allowing the Receiver to recover and fully copy all of the information
contained therein whether by way of printing the information onto paper or making copies of
computer disks or such other manner of retrieving and copying the information as the Receiver
in its discretion deems expedient, and shall not alterl erase or destroy any Records without the
prior written consent of the Receiver. Further, for the purposes of this paragraph, all Persons
shall provide the Receiver with all such assistance in gaining immediate access to the
information in the Records as the Receiver may in its discretion require including providing the
Receiver with instructions on the use of any computer or other system and providing the
Receiver With any and all access codes, account names, and account numbers that may be
required to gain access to the information

NO PROCEI_J|NGS AGAIN§T THE RECElVER

7. No proceeding or enforcement process in any court or tribunal (each, a “Proceeding"),
shall be commenced or continued against the Receiver except with the written consent of the
Receiver or with leave of this Court.

NO PRGC§_§_JINGS AGA|NST THE DEBTOR OR TH§LROPERTY

8. No Proceeding against or in respect of the Debtors or the Property shall be commenced
or continued except with the written consent of the Receiver or with leave of this Court and any
and all Proceedings currently under way against or in respect of the Debtors or the Property are

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hereby stayed and suspended pending further Order of this Courtl provided, however, that
nothing in this Order shall: (i) prevent any Person from commencing a proceeding regarding a
claim that might othenrvise become barred by statute or an existing agreement if such
proceeding is not commenced before the expiration of the stay provided by this paragraph; and
(ii) affect a Regulatory Body’s investigation in respect of the debtor or an action, suit or
proceeding that is taken in respect of the debtor by or before the Regulatory Body, other than
the enforcement of a payment order by the Regulatory Body or the Court. “Regulatory Body'
means a person or body that has powers, duties or functions relating to the enforcement or
administration of an Act of Parliament or of the legislature of a Province.

NO EXERCISE OF R|GHTS OF REMED|ES

.9. All rights and remedies of any Person, whether judicial or extra-judicia|, statutory or non-

statutory (including, without limitation, set-off rights) against or in respect of the Debtors or the
Receiver or affecting the Property are hereby stayed and suspended and shall not be
commenced, proceeded with or continued except with leave of this Court, including, without
limitation, any rights or remedies or provisions in any agreement construction, ownership and
operating agreement joint venture agreement or any such similar agreement or agreements to
which the Debtors is a party that purport to effect or cause a cessation of operatorship as a
result of the occurrence of any default or non-performance by or the insolvency of the Debtors,
the making or filing of these proceedings or any allegation, admission or evidence in these
proceedings and under no circumstances shall the Debtors be replaced as operator pursuant to
any such agreements without further order of this Court] provided, however, that this stay and
suspension does not apply in respect of any “eligible financial contract” (as defined in the BlA),
and further provided that nothing in this Order shall:

(a) empower the Debtors to carry on any business that the Debtors is not lawfully
entitled to carry on; '

(b) prevent the filing of any registration to preserve or perfect a security interest;
(c) prevent the registration of a claim for lien; or

(d) exempt the Debtors from compliance with statutory or regulatory provisions
relating to health, safety or the environment

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10. Nothing in this Order shall prevent any party from taking an action against the Applicant
where such an action must be taken in order to comply with statutory time limitations in order to
preserve their rights at law, provided that no further steps shall be taken by such party except in
accordance with the other provisions of this Order, and notice in writing of such action be given

to the Monitor at the first available opportunity

NO lNTERFERENCE WITH THE RECElVER

11. No Person shall accelerate, suspend, discontinue, fail to honour, alter, interfere with,
repudiate, terminate or cease to perform any right, renewal right, contract, agreement licence or
permit in favour of or held by the Debtors, except with the written consent of the Debtors and the
Receiver, or leave of this Court. Nothing in this Order shall prohibit any party to an eligible
financial contract (as defined in the BlA) from closing out and terminating such contract in

accordance with its terms.

CONT|NUAT|ON OF SERV|C§S_

12. All persons having:
(a) statutory or regulatory mandates for the supply of goods and/or services; or

(b) oral or written agreements or arrangements with the Debtors, including without
limitation all computer software, communication and other data services,
centralized banking services, payroll services, insurance, transportation,

services, utility or other services to the Debtors

are hereby restrained until further order of this Court from discontinuing, altering,
interfering With, suspending or terminating the supply of such goods or services as may
be required by the Debtors or exercising any other remedy provided under such
agreements or arrangements The Debtors shall be entitled to the continued use of its
current premises, telephone numbers, facsimile numbers, internetv addresses and
domain names, provided in each case that the usual prices or charges for all such goods l
or services received after the date of this Order are paid by the Debtors in accordance
with the payment practices of the Debtors, or such other practices as may be agreed
upon by the supplier or service provider and each of the Debtors and the Receiver, or as
may be ordered by this Court.

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RECElVER TO HOLD FUNDS

13. All funds, monies, cheques, instruments, and other forms of payments received or
collected by the Receiver from and after the making of this Order from any source whatsoever,
including without limitation the sale of all or any of the Property and the collection of any
accounts receivable in whole or in part, whether in existence on the date of this Order or
hereafter coming into existence, shall be deposited into one or more new accounts to be
opened by the Receiver (the “Post Receivership Accounts") and the monies standing to the
credit of such Post Receivership Accounts from time to time, net of any disbursements provided
for herein, shall be held by the Receiver to be paid in accordance with the terms of this Order or

any further order of this Court.

EMPLOYEES

14. Subject to employees’ rights to terminate their employment, all employees of the Debtors
shall remain the employees of the Debtors until such time as the Receiver, on the Debtor’s
behalf, may terminate the employment of such employees. The Receiver shall not be liable for
any employee-related Iiabilities, including any successor employerliabilities as provided for in
section 14.06(1.2) of the BlA, other than such amounts as the Receiver may specifically agree
in writing to pay, or in respect of its obligations under sections 81.4(5) or 81.6(3) of the BlA or
under the Wage Earner Protection Program Act, S.C. 2005, c. 47 (“WEPPA”).

15. Pursuant to clause 7(3_)(c) of the Personal lnformation Protection and Electronic
Documents Act, S.C. 2000, c. 5, the Receiver shall disclose personal information of identifiable
individuals to prospective purchasers or bidders for the Property and to their advisors, but only
to the extent desirable or required to negotiate and attempt to complete one or more sales of the
Property (each, a "Sale"). Each prospective purchaser or bidder to whom such personal
information is disclosed shall maintain and protect the privacy of such information and limit the
use of such information to its evaluation of the Sale, and if it does not complete a Sale, shall
return all such information to the Receiver, or in the alternative destroy all such information. The
purchaser of any Property shall be entitled to continue to use the personal information provided
to it, and related to the Property purchased, in a manner which is in all material respects
identical to the prior use of such information by the Debtors, and shall return all other personal
information to the Receiver, or ensure that all other personal information is destroyed

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L_|MlTAT|ON ON ENV|RONM§NTAL LlABl.|T|ES

16. (a) Notwithstanding anything in any federal or provincial law, the Receiver is not
personally liable in that position for any environmental condition that arose or environmental

damage that occurred:
(i) before the Receiver’s appointment; or

(ii) after the Receiver's appointment unless it is established that the condition
“ arose or the damage occurred as a result of the Receiver's gross

negligence or wilful misconduct

(b) Nothing in sub-paragraph (a) exempts a Receiver from any duty to report or
make disclosure imposed by a law referred to in that sub-paragraph

(c) Notwithstanding anything in any federal or provincial law, but subject to sub-
paragraph (a) hereof, where an order is made which has the effect of requiring
the Receiver to remedy any environmental condition or environmental damage
affecting the Property, the Receiver is not personally liable for failure to comply
with the order, and is not personally liable for any costs that are or would be
incurred by any person in carrying out the terms of the order,

(i) if, within such time as is specified in the order, within 10 days after the
order is made if no time is so specified, within 10 days after the
appointment of the Receiver, if the order is in effect when the Receiver is
appointed, or during the period of the stay referred to in clause (ii) below,

the Receiver:
A. complies with the order, or

B. on notice to the person who issued the order, abandons, disposes
of or otherwise releases any interest in any real property affected
by the condition or damage;

(ii) during the period of a stay of the order granted, on application made
within the time specified in the order referred to in clause (i) above, within
10 days after the order is made or within 10 days after the appointment of
the Receiver, if the order is in effect when the Receiver is appointed, by,

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A. the court or body having jurisdiction under the law pursuant to
which the order was made to enable the Receiver to contest the

order; or

B. the court having jurisdiction in bankruptcy for the purposes of
assessing the economic viability of complying with the order; or

(iii) if the Receiver had, before the order was made, abandoned or renounced
or been divested of any interest in any real property affected by the

condition or damage.

L|lVllTATlON ON THE RECEIVER’S LlABlL|TY

17. Except for gross negligence or wilful misconduct, as a result of its appointment or
carrying out the provisions of this Order the Receiver shall incur no liability or obligation that
exceeds an amount for which it may obtain full indemnity from the Property. Nothing in this
Order shall derogate from any limitation on liability or other protection afforded to the Receiver
under any applicable law, including, without limitation, Section 14.06, 81.4(5) or 81.6(3) of the
BlA.

RECElVER’S ACCOUNTS

18. The Receiver and counsel to the Receiver shall be paid their reasonable fees and
disbursements, in each case, incurred at their standard rates and charges. The Receiver and
counsel to the Receiver shall be entitled to the benefits of and are hereby granted a charge (the
“Receiver’s Charge”) on the Property, which charge shall not exceed an aggregate amount of
$1,000,000 (or such greater amount as this Court may by further order authorize), as security
for their professional fees and disbursements incurred at the normal rates and charges of the
Receiver and such counsel, both before and after the making of this Order in respect of these
proceedings, and the Receiver's Charge shall form a first charge on the Property in priority to all
security interests, trusts, deemed trusts, liens, charges and encumbrances, statutory or
othen/vise, in favour of any Person but subject to section 14.06(7), 81 .4(4) and 81 .6(2) and 88 of
the BlA.

19. The Receiver and its legal counsel shall pass their accounts from time to time.

20. Prior to the passing of its accounts, the Receiver shall be at liberty from time to time to
apply reasonable amounts, out of the monies in its hands, against its fees and disbursements,

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including the legal fees and disbursements, incurred at the normal rates and charges of the
Receiver or its counsel, and such amounts shall constitute advances against its remuneration
and disbursements when and as approved by this Court.

FUND|NG OF THE RECElVERSHlP

21. The Receiver be at liberty and it is hereby empowered to borrow by way of a revolving
credit or othen/vise, such monies from time to time as it may consider necessary or desirable,
provided that the outstanding principal amount does not exceed $3,000,000 (or such greater
amount as this Court may by further order authorize) at any time, at such rate or rates of interest
as it deems advisable for such period or periods of time as it may arrange, for the purpose of
funding the exercise of the powers and duties conferred upon the Receiver by this Order,
including interim expenditures The whole of the Property shall be and is hereby charged by way
of a fixed and specific charge (the “Receiver’s Borrowings Charge”) as security for the
payment of the monies borrowed, together with interest and charges thereon, in priority to all
security interests, trusts, deemed trusts, liens, charges and encumbrances, statutory or
othenlvise, in favour of any Person, but subordinate in priority to the Receiver's Charge and the
charges set out in sections 14.06(7), 81.4(4) and 81 .6(2) and 88 of the BlA.

22. Neither the Receiver's Borrowings Charge nor any other security granted by the
Receiver in connection with its borrowings under_this Order shall be enforced without leave of
this Court.

23. The Receiver is at liberty and authorized to issue certificates substantially in the form
annexed as Schedule “A” hereto (the “Receiver’s Certificates”) for any amount borrowed by it

pursuant to this Order.

24. The monies from time to time borrowed by the Receiver pursuant to this Order or any
further order of this Court and any and all Receiver's Certificates evidencing the same or any
part thereof shall rank on a pari passu basis, unless othen/vise agreed to by the holders of any
prior issued Receiver's Certificates

25. The Receiver shall be allowed to repay any amounts borrowed by way of lileceiver's
Certificates out of the Property or any proceeds, including any proceeds from the sale of any
assets without further approval of this Court.

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ALLOCAT|ON

26. Any interested party may apply to this Court on notice to any other party likely to be
affected, for an order allocating the Receiver's Charge and Receiver's Borrowings Charge
amongst the various assets comprising the Property,

GENERAL

27. The Receiver may from time to time apply to this Court for advice and directions in the
discharge of its powers and duties hereunder.

28. Notwithstanding Rule 6.11 of the A/berta Rules of Court, unless otherwise ordered by
this Court, the Receiver will report to the Court from time to time, which reporting is not required
to be in affidavit form and shall be considered by this Court as evidence. The Receiver's reports
shall be filed by the Court Clerk notwithstanding that they do not include an original signature.

29. Nothing in this Order shall prevent the Receiver from acting as a trustee in bankruptcy of
the Debtors. `

30. This Court hereby requests the aid and recognition of any court, tribunal, regulatory or
administrative body having jurisdiction in Canada or in any foreign jurisdiction to give effect to
this Order and to assist the Receiver and its agents in carrying out the terms of this Order. All
courts, tribunals, regulatory and administrative bodies are hereby respectfully requested to
make such orders and to provide such assistance to the Receiver, as an officer of this Court, as
may be necessary or desirable to give effect to this Order, to grant representative status to the
Receiver in any foreign proceeding, or to assist the Receiver and its agents in carrying out the
terms of this Order.

31. The Receiver be at liberty and is hereby authorized and empowered to apply to any
court, tribunal, regulatory or administrative body, wherever located, for the recognition of this
Order and for assistance in carrying out the'terms of this Order and that the Receiver is
authorized and empowered to act as a representative in respect of the within proceedings for
the purpose of having these proceedings recognized in a jurisdiction outside Canada.

32. The Plaintiff shall have its costs of this application, up to and including entry and service
of this Order, provided for by the terms of the Plaintiff’s security or, if not so provided by the
Plaintiff’s security, then on a substantial indemnity basis, including legal costs on a solicitor-

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client full indemnity basis, to be paid by the Receiver from the Debtor’s estate with such priority

and at such time as this Court may determine

33. Any interested party may apply to this Court to vary or amend this Order on not less than
7 days’ notice to the Receiver and to any other party likely to be affected by the order sought or
upon such other notice, if any, as this Court may order.

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34. The Receiver shall establish and maintain a website in respect of these proceedings at
www.pwc.com/car/innova (the “Receiver’s Website”) and shall post there as soon as

practicable:

(a) ' all materials prescribed by statue or regulation to be made publically available;

and

(b) all applications, reports, aft”ldavits, orders and other materials filed in these
proceedings by or on behalf of the Receiver, or served upon it, except such
materials as are confidential and the subject of a sealing order or pending

application for a sealing order.
35. Service of this Order shall.be deemed good and sufficient by:
(a) serving the same on:

(i) the persons listed on the service list created in these proceedings or
othen/vise served with notice of these proceedings;

(ii) any other person served with notice of the application for this Order;

(iii) any other parties attending or represented at the application for this
Order; and

(iv) posting a copy of this Order on the Receiver's Website

and service on any other person is hereby dispensed with,

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36. Service of this Order may be effected by facsimile, electronic mail, personal delivery or

courier. Service is deemed to be effected the next business day following transmission or
delivery of this Order.

 

 

Justice of the Court of Queen’s Bench of Alberta

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SCHEDULE “A” TO THE FORM OF RECElVERSHIP ORDER
DEBTORS

lnnova Global Ltd.

lnnova Global Operating Ltd.

lnnova Global Limited Partnership

1938247 Alberta Ltd.

lnnova Global Holdings Limited Partnership
lnnova Global lnc.

lnnova Global LLC

Braden Manufacturing, L.L.C.

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SCHEDULE “B" TO THE FORM OF RECElVERSH|P ORDER
RECEIVER’S CERTlFlCATE

CERTlFlCATE NO.

AMOUNT $

1. THlS lS TO CERTlFY that Pri`cewaterhouseCoopers lnc., LlT, the receiver and manager
(the “Receiver”) of all of the assets, undertakings and properties of the Debtors appointed by
Order of the Court of Queen’s Bench of Alberta (the “Court”) dated the 1St day of April, 2019
(the “Order”) made in action number 1901-04589, has received as such Receiver from the
holder of this certificate (the "Lender”) the principal sum of $ , being part of the total
principal sum of $ d which the Receiver is authorized to borrow under and

pursuant to the Order.

2. The principal sum evidenced by this certificate is payable on demand by the Lender with
interest thereon calculated and compounded daily after the date hereof at a notional rate per
annum equal to the rate of 5 per cent above the prime commercial lending rate of ATB Financial

from time to time.

3. Such principal sum with interest thereon is, by the terms of the Order, together with the
principal sums and interest thereon of all other certificates issued by the Receiver pursuant to
the Order or to any further order of the Court, a charge upon the whole of the Property, in
priority to the security interests of any other person, but subject to the priority of the charges set
out in the Order and the Bankruptcy and Inso/vency Act, and the right of the Receiver to
indemnify itself out of such Property in respect of its remuneration and expenses.

4. All sums payable in respect of principal and interest under this certificate are payable at
the main office of the Lender at ATB Financial, Suite 600, 585 - 8th Avenue SW, Calgary,
Alberta, T2P th. `

5. Until all liability in respect of this certificate has been terminated, no certificates creating
charges ranking or purporting to rank in priority to this certificate shall be issued by the Receiver
to any person other than the holder of this certificate without the prior written consent of the
holder of this certificate

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6. The charge securing this certificate shall operate so as to permit the Receiver to deal
with the Property) as authorized by the Order and as authorized by any further or other order of
the Court.

7. The Receiver does not undertake, and it is not under any personal liability, to pay any
sum in respect of which it may issue certificates under the terms of the Order.

8. Capitalized terms used herein and not otherwise defined shall have the meaning

ascribed to them in the Order.

DATED the day of , 20___

PricewaterhouseCoopers lnc., LlT, solely
in its capacity as Receiver of the
Property (as defined in the Order), and
not in its personal capacity

Per:

 

Name:
Title:

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